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The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 12, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     ------------------------------------x
     In re:                              :
                                         :                          Chapter 11
     HVI CAT CANYON, INC.,               :
                                         :                          Case No. 19-32857 (HDH)
     Debtor.                             :
     ------------------------------------x

                             ORDER GRANTING TRANSFER OF VENUE


             Pursuant to 28 U.S.C. §§ 1404, 1408, 1412 and Rule 1014 of the Federal Rules of

     Bankruptcy Procedure, and for the reasons stated on the record at the hearing on September 10,

     2019, the Court finds that it is appropriate to transfer the venue of this case to the Central District

     of California, Northern (Santa Barbara) Division. It is therefore

             ORDERED this case is transferred to the United States Bankruptcy Court for the Central

     District of California, Northern (Santa Barbara) Division; and it is further

             ORDERED that the Clerk of the United States Bankruptcy Court for the Northern District

     of Texas is authorized and directed to take all actions necessary to effectuate the transfer of this
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case to the United States Bankruptcy Court for the Central District of California, Northern (Santa

Barbara) Division immediately.



                                         ### End of Order ###

Agreed as to form only:

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